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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC MEDICINE, on                     §
behalf of itself, its member organizations, their         §
members, and these members’ patients; AMERICAN            §
ASSOCIATION OF PRO-LIFE, on behalf of itself, its         §
members, and their patients; AMERICAN COLLEGE             §
OF PEDIATRICIANS, on behalf of itself, its                §
members, and their patients; CHRISTIAN MEDICAL            §
& DENTAL ASSOCIATIONS, on behalf of itself, its           §
members, and their patients; SHAUN JESTER, D.O.,          §
on behalf of himself and his patients; REGINA             §
FROST-CLARK, M.D., on behalf of herself and her           §
patients; TYLER JOHNSON, D.O., on behalf of               §
himself and his patients; and GEORGE DELGADO,             §
M.D., on behalf of himself and his patients,              §
                                                          §
       Plaintiffs,                                        §
                                                          §
v.                                                        §    CASE NO. 2:22-cv-00223-z
                                                          §
U.S. FOOD AND DRUG ADMINISTRATION;                        §
ROBERT M. CALIFF, M.D., in his official capacity          §
as Commissioner of Food and Drugs, U.S. Food and          §
Drug Administration; JANET WOODCOCK, M.D., in             §
her official capacity as Principal Deputy Commissioner,   §
U.S. Food and Drug Administration; PATRIZIA               §
CAVAZZONI, M.D., in her official capacity as              §
Director, Center for Drug Evaluation and Research, U.S.   §
Food and Drug Administration; U.S. DEPARTMENT             §
OF HEALTH AND HUMAN SERVICES; and                         §
XAVIER BECERRA, in his official capacity as               §
Secretary, U.S. Department of Health and Human            §
Services,                                                 §
                                                          §
       Defendants,                                        §
                                                          §
and                                                       §
                                                          §
DANCO LABORATORIES, LLC,                                  §
                                                          §
       Intervenor Defendant.                              §

                BRIEF OF AMICUS CURIAE DOCTORS FOR AMERICA
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TO THE HONORABLE COURT:

    I.   INTEREST OF AMICUS CURIAE

         Doctors for America (“DFA”) files this Amicus Brief in support of Defendants’ Opposition

To Plaintiffs’ Motion For A Preliminary Injunction (ECF No. 28). 1 DFA is a nonpartisan, not-for-

profit, 501(c)(3) organization of over 27,000 physician and medical student advocates in all 50

states, representing all medical specialties. DFA mobilizes doctors and medical students to be

leaders in putting patients over politics to improve the health of patients, communities, and the

nation. DFA takes a special interest in access to affordable care, community health and prevention,

and health justice and equity. DFA focuses solely on what is best for patients, not on the business

side of medicine, and does not accept any funding from pharmaceutical or medical device

companies. This uniquely positions DFA as a medical organization that puts patients over politics

and patients over profits.

         In support of its mission, DFA formed an FDA Task Force to educate, mobilize, and

empower a multispecialty group of clinicians to provide unbiased expertise in evaluating and

responding to the FDA regulatory process in a way that maximizes meaningful clinical outcomes

for patients. To support an FDA that puts patients first, the FDA Task Force has advocated in

support of patient-centered regulatory reform through public testimony, op-eds, educational

meetings with policymakers, and more. For example, DFA’s FDA Task Force has written letters,

testified, and met with policymakers to advocate for reforms to the Prescription Drug User Fee

Act (“PDUFA”) to make user fee agreements more patient-centered in order to ensure timely



1
  As noted in ECF No. 12, Plaintiffs and Defendants stipulate that they will not oppose the filing of amicus briefs,
and that any amici do not need to seek the specific consent of either Plaintiffs or Defendants before seeking leave of
the Court. Counsel for Amicus Curiae authored this brief in whole; no party’s counsel authored, in whole or in part,
this brief; and no person or entity other than amicus and their counsel contributed monetarily to preparing or
submitting this brief.


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access to drugs and biologic medicines proven to be effective and safe.2 Recently, the FDA Task

Force has also advocated for the addition of miscarriage management as an indication to

mifepristone’s label “[t]o ensure access to the safest and most effective treatments for miscarriage,

and to preserve patient choice in miscarriage management.”3

          DFA submits this brief to the court to highlight the ways in which mifepristone, which has

been approved for use in the United States for over twenty years, 4 impacts the practice of

physicians across the United States. An injunction that withdraws or suspends approval of

mifepristone would disrupt medical practice nationwide, including care for conditions beyond

induced abortion, such as the management of early pregnancy loss.

    II.   ARGUMENT

          DFA’s members across the country wish to express to this Court their concerns about the

potential removal of mifepristone as an approved drug, which would have grave ramifications.

This amicus brief contains first-hand accounts from physicians across many practice areas about

the harms that Plaintiffs’ requested preliminary injunction would cause. 5 These accounts, in

providers’ own words, describe how an injunction ordering Defendants to withdraw approval of

mifepristone would jeopardize physicians’ ability to provide safe and effective healthcare,

undermine the patient-physician relationship, and impose upon doctors an unacceptable choice

between compliance with their ethical obligations and compliance with the law.


2
  Written Testimony of Reshma Ramachandran, M.D., M.P.P. at Hearing on “FDA User Fee Reauthorization:
Ensuring Safe and Effective Drugs and Biologics” Subcommittee on Health, DOCTORS FOR AMERICA (2022),
https://doctorsforamerica.org/written-testimony-of-reshma-ramachandran-m-d-m-p-p-athearing-on-fda-user-fee-
reauthorization-ensuring-safe-and-effective-drugs-and-biologics-subcommittee-on-health/ (last visited Feb. 7, 2023).
3
  Citizen Petition from the American College of Obstetricians and Gynecologists, https://emaaproject.org/wp-
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10.3.22-EMAA-website.pdf (last visited Feb. 7, 2023).
4
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5
  The accounts presented in this amicus brief were provided directly to counsel by the doctors quoted. All the
doctors quoted are members of Doctors for America.


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             A. Providers affirm the safety and effectiveness of mifepristone

         Medical research has consistently demonstrated that mifepristone is safe and effective and

that adverse events and outcomes are exceedingly rare, occurring in less than a fraction of 1% of

cases.6 The safety and effectiveness of mifepristone has been demonstrated through rigorous

investigation conducted prior to the FDA’s approval of mifepristone and further confirmed by a

large volume of scientific literature published after its approval. Studies supplied to the FDA at

the time of approval in 2000 found adverse events requiring hospitalization in less than 1% of a

sample size of over 2,000 patients. 7

         Many studies have shown that serious adverse incidents occur in less than 0.5% of

medication abortions in the United States.8 Moreover, adverse events data tracked by the FDA

reveals that mifepristone has a very low mortality rate of 0.65 per 100,000. 9 Mifepristone has a

lower mortality rate than other common medications such as sildenafil (Viagra), which has a

mortality rate more than six times greater than mifepristone, and penicillin, which has a mortality

rate three times greater than mifepristone. 10 Furthermore, numerous studies have shown the

combined mifepristone/misoprostol regimen to be more than 95% effective. 11 The providers’

accounts presented here affirm that mifepristone has proven safe and effective in providers’



6
  Kelly Cleland et al., Significant Adverse Events and Outcomes After Medical Abortion, 121 OBSTETRICS &
GYNECOLOGY 166, 166 (2013).
7
  U.S. FOOD & DRUG ADMIN. CTR. FOR DRUG EVALUATION & RSCH., MEDICAL OFFICER’S REVIEW OF
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9
  Greer Donley, Medication Abortion Exceptionalism, 107 CORNELL L. REV. 627, 651-52 (2022).
10
   Id.
11
   See, e.g., Melissa J. Chen & Mitchell D. Creinin, Mifepristone With Buccal Misoprostol for Medical Abortion: A
Systematic Review., 126 OBSTETRICS & GYNECOLOGY 12 (2015). See also Man-Wa Lui & Pak-Chung Ho, First
trimester termination of pregnancy, 63 BEST PRACTICE & RESEARCH CLINICAL OBSTETRICS & GYNAECOLOGY 13,
20 2020).


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practices. If mifepristone were to be made unavailable, it would not make treatment safer but

would instead endanger the health of pregnant people.

        Dr. Cheryl Hamlin is an obstetrician-gynecologist who now practices in Massachusetts.

She attended medical school at the University of Illinois and completed her residency at Boston

Medical Center. Dr. Hamlin provides a first-hand account of mifepristone’s safety profile and its

ability to expand access to care:

        Mifepristone is widely used both as a medication used to terminate a pregnancy as
        well as for medical management of a miscarriage. While misoprostol is widely
        available globally, the combination of mifepristone and misoprostol is more
        effective. Patients who wish to avoid a surgical procedure have the option for
        medical management for both miscarriage and termination of pregnancy or an
        aspiration procedure. Eliminating the option of mifepristone would significantly
        affect the options and therefore the health of those in need of this treatment.

        Patients have a wide range of reasons to choose medication management over an
        aspiration procedure. Some choose medication abortion because they are afraid of
        a surgical procedure. Others, who are driving long distances, may not be able to get
        a ride. They then have the option of a procedure without anesthesia.

        Most importantly, mifepristone means improved access to care. Outpatient offices
        which may not have the capability of providing aspiration procedures may be able
        to readily provide medication abortion. 12 Advanced practitioners and providers
        other than OB/GYNs may be more comfortable providing medical procedures. It
        can be and should be easy for providers to offer medication abortion in the office
        setting.

        As well, there is a mountain of evidence that mifepristone is extremely safe.
        Mifepristone has been used since 2000 in the United States and longer in Europe.
        The risk of serious complications is extremely rare and certainly far less likely than
        the risks of childbirth. 13 Most of the complications associated with medical
        abortions are due to the process itself, not the mifepristone. Mifepristone blocks
        progesterone, which disrupts the lining of the uterus. This, in fact, is what happens
        monthly to stimulate a menses: sudden withdrawal of progesterone. If mifepristone

12
   Lawrence Leeman et al., Can mifepristone medication abortion be successfully integrated into medical practices
that do not offer surgical abortion?, 76 CONTRACEPTION 96 (2007).
13
   Jillian T. Henderson et al., Safety of mifepristone abortions in clinical use, 72 CONTRACEPTION 175 (2005).


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        were inadvertently given to a non-menstruating person, it would likely have no
        effect.

        Not having the full range of options to offer my patients would adversely affect my
        patients, potentially delaying care, causing them to require more invasive
        procedures and subjecting them to the associated risks. Mifepristone must remain
        readily available to those for whom the best option is a medication procedure.

        As Dr. Hamlin described, the safety and effectiveness of mifepristone is substantiated by

scientific evidence showing that complications are extremely rare. An injunction withdrawing or

suspending approval of mifepristone would endanger the health of patients by removing the

availability of a safe and effective treatment option.

            B. Providers underscore that mifepristone is a standard treatment option not
               only for abortion, but also for early pregnancy loss

        The most effective treatment option for medication management of early pregnancy loss

includes mifepristone taken in combination with misoprostol.14 For successful management of

early pregnancy loss, mifepristone followed by treatment with misoprostol is over 83% effective

and results in complications requiring blood transfusion in only 2% of women. 15 An injunction

reversing the approval of mifepristone would remove the availability of an evidence-based

treatment that is the safest and best option for many patients. As physicians describe infra, the

removal of mifepristone would undermine their ability to provide safe and effective management

of early pregnancy loss.

        Dr. Cynthia Davis is an obstetrician-gynecologist in South Dakota. She attended medical

School at the University of Florida and completed her residency at the University of Colorado. Dr.




14
   Honor Macnaughton, Melissa Nothnagle & Jessica Early, Mifepristone and Misoprostol for Early Pregnancy Loss
and Medication Abortion, 103 AM. FAM. PHYSICIAN 473 (2021).
15
   Courtney A. Schreiber et al., Mifepristone Pretreatment for the Medical Management of Early Pregnancy Loss,
378 NEW ENG. J. MED. 2161 (2018).


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Davis conveys the importance of mifepristone for treating early pregnancy loss and the significant

health and ethical harms that would occur were mifepristone to be removed as an option for

treatment:

       I speak from the experience of an obstetrician-gynecologist in a state where it has
       always been very difficult to obtain mifepristone. I am not an abortion provider, but
       I can tell you that the difficulty of obtaining this drug in treating pregnancy loss has
       significantly harmed many of my patients. When it is clear that a woman has lost
       her pregnancy but has not passed the tissue, the use of mifepristone combined with
       misoprostol is over 90% effective in resolving the missed pregnancy loss, compared
       to the 75% success of misoprostol alone. Given how common first-trimester
       pregnancy loss is, this treatment delay, often resulting in significant bleeding,
       infection, and psychological trauma, is devastating. I have seen this result in women
       requiring blood transfusions and surgeries they otherwise would not have needed.
       I have seen women avoid any future pregnancies for fear of this situation's recurring
       trauma.

       Of course, other options exist to treat the clinical situations mentioned above.
       However, expectant management can result in acute bleeding episodes, increased
       risk of infection, anxiety, and depression, which I have witnessed in multiple
       patients over the years. Surgical management is often more expedient for clinical
       management. Still, there are risks, including bleeding, infection, uterine scarring
       resulting in infertility, and uterine perforation with possible damage to the bowel,
       bladder, or blood vessels. In addition, the costs associated with surgical
       management are often more than the family can absorb.

       And although there can be complications related to any medication, I have found
       mifepristone to be effective and safe in my many years of experience (over 30
       years). It is heartbreaking to watch a family go through the difficulties related to
       pregnancy loss and, more so, to watch harm come to our women patients.
       Interference in the doctor-patient relationship by removing mifepristone as an
       approved drug disrespects a woman's autonomy and the sacred relationship
       between doctor and patient, much less the expertise in a physician's medical
       training.

       Dr. Amy Kaleka is a family medicine provider in Wisconsin. She attended medical school

at Central America Health Sciences University and completed her residency in family medicine at

Virginia Tech Carilion School of Medicine. Dr. Kaleka explains the harms that withdrawing or


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suspending FDA approval of mifepristone would have on the management of early miscarriage,

for which a standard treatment involves mifepristone:

           I am a family medicine and obstetrics provider in a state where an abortion ban
           already exists and has resulted in unsafe care for pregnant patients as it is, but a ban
           on mifepristone would prevent me from being able to safely manage miscarriages
           in early pregnancy without hospitalizations. Having to stop providing abortion care
           to patients in Wisconsin for the past six months has revealed further difficulties for
           patients in rural settings, which are the same settings where no maternity wards
           exist in the hospital. These patients are now being forced to birth, so the risks of
           bleeding and poor fetal and maternal outcomes have significantly risen.
           Mifepristone is vital to providing safe care for early pregnancy loss.

           Increasing restrictions on medications that can improve safety outcomes of
           pregnant patients will inevitably lead to worse maternal outcomes. As providers,
           we do our best to perform safe and high quality care to prevent complications. The
           availability of mifepristone allows me to provide safe and high quality miscarriage
           management care to patients, reducing their likelihood of complications which
           ultimately reduces health care costs by avoiding hospitalizations. The use of this
           medicine is vital for medication management of miscarriages per the latest medical
           guidelines.16 I hope to continue to provide safe obstetric care, which involves
           mifepristone as an option for pregnant patients for both miscarriage and abortion
           care.

           As Dr. Davis and Dr. Kaleka highlight, mifepristone is critical for managing early

pregnancy loss. The withdrawal or suspension of FDA approval of mifepristone would result in

misoprostol being the only option for management of early pregnancy by medication. Medicine is

practiced as a shared decision-making process between the physician and patient. For certain

patients, mifepristone and misoprostol in combination may be the best option based on their

individual therapeutic and psychological needs. For other patients, offering misoprostol alone or

pursuing expectant or surgical management might be the indicated course of care that a physician

and their patient agree upon. An injunction withdrawing or suspending FDA approval of



16
     Id.


                                                      7
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mifepristone would limit providers’ ability to provide the evidence-based care that is best for

individual patients, worsening maternal outcomes.

            C. Providers emphasize that the availability of mifepristone is essential to
               protect patient autonomy

        Respect for patient autonomy is a core tenet of physicians’ professional ethics. The

principle of respect for patient autonomy “acknowledges an individual’s right to hold views, to

make choices, and to take actions based on her own personal values and beliefs.” 17 Respect for

patient autonomy requires respect for the right of patients to make their own health care choices.

It is therefore critical, and central to medical ethics, that patients have the option to choose the

treatment that best suits them.

        For many patients, a combined mifepristone/misoprostol regimen is the best option.

Patients may prefer or require medication abortion over surgical abortion for a variety of reasons,

including pre-existing medical conditions, privacy, time constraints, transportation, the desire to

avoid an invasive procedure, or other practical concerns. For instance, patients who are victims of

abuse, including rape or incest, may prefer medication abortion to avoid retraumatization. See

Glaser Decl. Ex. 7, at 6, ECF No. 29.

        Dr. Andrea Palmer is an obstetrician-gynecologist who lives and practices in Texas. She

attended medical school at the University of Oklahoma College of Medicine and completed her

residency at the University of Oklahoma Health Sciences Center. Dr. Palmer wishes to share with

the court an example of how withdrawing or suspending FDA approval of mifepristone would




17
  American College of Obstetricians and Gynecology, ACOG Committee Opinion No. 390, December 2007. Ethical
decision making in obstetrics and gynecology, 110 OBSTETRICS & GYNECOLOGY 1479, 1481 (Dec. 2007, reaff’d
2016).


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provide women with even fewer options following sexual assault or rape, restricting patient

autonomy18:

        As I glanced at my schedule, I noticed with delight a familiar patient, Josie, 19
        scheduled for a new OB appointment. However, the moment I walked in the room,
        I knew this was not a typical new pregnancy visit. Josie’s appointment brought
        unexpected and devastating news. Two weeks ago, she had joined a group of
        girlfriends for a night out to celebrate a coworker’s birthday. Like any dedicated
        infertility couple, she and her husband had been timing their intercourse around her
        ovulation time and had sex that day. Tragically, that night of celebration ended with
        her as a victim of the most personally violating crime. That night she was drugged
        and raped.

        Like most rape victims, Josie had stayed silent about her assault. Now two weeks
        after living with the shame, guilt, and pain of her attack she found out she was
        pregnant. Months and months of trying, years of hoping, and dozens of negative
        pregnancy tests later, and this was the one that was positive. Josie could not know
        who the father of this pregnancy was—her husband or the rapist. Obviously if this
        pregnancy were conceived with her husband, this would be the beginning of the
        next phase of their life together. But there was an unfortunate chance that this
        pregnancy was a product of rape. Understandably, she could not bear the thought
        of carrying that pregnancy to term.

        The soonest paternity could have been established was 7 weeks gestation. However,
        Josie lives, and I practice, in Texas. This was November 2021, just a few months
        after passage of SB8 which banned abortion in the state of Texas after 6 weeks. As
        Josie and I cried together, we reviewed her options. She could choose to terminate
        now, but time was running out. At this point, she was just over 4 weeks gestation.
        She could choose to wait and determine paternity, but if she were pregnant as a
        product of her rape, she would need to travel out of state for termination. This was
        not something that she had the resources to do. She could not afford the time off
        work interstate travel would have required, and the waitlist for appointments in
        surrounding states was growing daily. Waiting was not an option for her. Carrying
        a pregnancy and raising a baby that was a product of rape from a random stranger
        was not an option for her. Josie sought out medication abortion before her sixth
        week.

18
   A version of Dr. Palmer’s account was originally published on Medpage Today: Andrea Palmer, Abortion
Restrictions Rob Our Patients of Self-Determination, MEDPAGE TODAY (2022),
https://www.medpagetoday.com/opinion/second-opinions/98103 (last visited Feb 7, 2023).
19
   Patient names have been changed to protect their privacy.


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       Josie barely had time to begin to process the trauma of her attack before she had to
       make an unwinnable, unfathomable choice. Her most precious dreams were stolen
       by a rapist, and her agency and options for self-determination were stolen by a
       legislature out to limit access to reproductive care without thought of the
       innumerable consequences they could not fathom, because they do not have to.
       Without access to mifepristone, more women may be forced to make unwinnable,
       unfathomable choices of their own.

       The millions of nuanced reasons that women seek and consider abortion, sometimes
       ending very desired pregnancies, should be considered. The decision about
       pregnancy should be left to women and the doctors who counsel them, care for
       them, cry with them, celebrate and mourn with them.

       As Dr. Palmer describes, respect for patient autonomy requires respect for the right of

patients to make the difficult and nuanced choice to obtain a medication abortion. An injunction

withdrawing or suspending FDA approval of mifepristone would intrude into the patient-physician

relationship and deny patients the ability to make autonomous medical choices.

III.   CONCLUSION

       For the foregoing reasons, DFA respectfully asks the Court to deny Plaintiffs’ Motion for

a Preliminary Injunction and to refrain from withdrawing or suspending FDA approval of

mifepristone.




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Dated: February 9, 2023                                   Respectfully submitted,20

                                                          /s/ Christopher J. Morten
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 9, 2023, the foregoing was electronically submitted to

the Clerk of Court for the U.S. District Court for the Northern District of Texas using the Court’s

electronic case filing system in accordance with Local Rule 5.1(e). All counsel of record will be

served via the Court’s CM/ECF system and via email.



Dated: February 9, 2023                              Respectfully submitted,

                                                     /s/ Christopher J. Morten
                                                     Christopher J. Morten




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